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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flmb.uscourts.gov

 In re:                                               Chapter 13

 DANYERIK RODRIGUEZ DIAZ,                             Case No. 24-12306-LMI

        Debtor.
 ____________________________________/

 FERRARI FINANCIAL SERVICES, INC.                     Adv. Case No.

           Plaintiff,

 v.

 DANYERIK RODRIGUEZ DIAZ,

       Defendant.
 ____________________________________/

                                    ADVERSARY COMPLAINT

          Creditor, Ferrari Financial Services, Inc. (“FFS”), by and through its undersigned counsel,

pursuant to 11 U.S.C. § 727 and Fed. R. Bankr. P. 7001, files this adversary complaint against

Defendant and in support Plaintiff alleges:

                                   JURISDICTION AND VENUE

          1.      This is an adversary proceeding filed under Federal Rules of Bankruptcy Procedure,

Rule 7001, et seq., to object to the Debtor’s discharge pursuant to 11 U.S.C. §§ 727(a)(3),

727(a)(4)(A), 727(a)(4)(D), and 727(a)(5).

          2.      This Court has jurisdiction over the subject matter of this proceeding pursuant to 28

U.S.C. §§ 157(b) and 1334.

          3.      This is a core proceeding pursuant to the provisions of 28 U.S.C. § 157(b).

          4.      Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1409.
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                                           PARTIES

       5.      Plaintiff, FFS is a Delaware corporation headquartered in New Jersey, authorized to

transact business in Florida.

       6.      Defendant, Danyerik Rodriguez Diaz (“Debtor” or “Defendant”), is an individual

residing in Miami-Dade County, Florida.

                                        BACKGROUND

       7.      On October 6, 2022, the Debtor entered into a Retail Installment Sale Contract (the

“Contract”) for the purchase on credit of a 2016 Ferrari California, VIN # ZFF77XJA7G0216904

(the “Vehicle”). A copy of the Contract is attached as Exhibit A.

       8.      The Contract, by its terms, was assigned to FFS. See Exhibit A at page 6.

       9.      The Debtor defaulted on the terms of the Contract for this luxury vehicle by, inter

alia, failing to make the regular monthly payments when due. See Exhibit A, Section 3(b).

       10.     The Debtor made only two (2) of the sixty (60) required payments due under the

Contract since purchasing the Vehicle in October 2022. Notably, the two (2) payments made by

Debtor were late. The payment history is attached as Exhibit B. In addition, Debtor made multiple

payments that bounced and had to be reversed. See Exhibit B.

       11.     The Debtor’s last payment was made on December 20, 2022 and no further payments

on his loan have been made since that date. See Exhibit B.

       12.     On November 21, 2023, FFS filed a verified complaint (the “Complaint”) against

the Debtor in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

Florida styled Ferrari Financial Services, Inc. v. Danyerik Rodriguez Diaz, Case No. 2023-026858-

CA-01 (“State Action”). The Complaint includes counts for replevin, breach of contract, and unjust

enrichment.




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         13.   On January 23, 2024 a writ of replevin was issued in the State Action which writ

was returned unexecuted the Miami-Dade County Sheriff being unable to locate the Vehicle.

         14.   On March 11, 2024 (“Petition Date”), Danyerik Rodriguez Diaz (“Debtor”) filed a

voluntary petition for relief under Chapter 13 of the Bankruptcy Code, which commenced the

above-captioned Chapter 13 case.

         15.   Nancy K. Neidich has been appointed as the Chapter 13 Trustee in the case

(“Trustee”) [DE #5].

         16.   On April 9, 2024, the Debtor filed Initial Bankruptcy Schedules and Statement of

Financial Affairs (collectively the “Initial Schedules”) [DE # 20]. The Initial Schedules did not list

FFS as a secured creditor. A later amendment to the Initial Schedules also did not list FFS as a

secured creditor.

         17.   On April 9, 2024, the Debtor filed his Chapter 13 plan (the “Plan”) [DE #25]. The

Plan does not provide for the treatment of secured creditors. The Plan has not been amended since

its filing.

         18.   On April 25, 2024, the Debtor had his 341(a) meeting of creditors (the “Creditors

Meeting”). The Debtor indicated at the Creditors Meeting that he no longer had the Vehicle because

it was allegedly “stolen.” Incredibly, the Debtor stated he did not report the Vehicle as “stolen” to

the police and never received a police report. Based on information and belief, although requested

by the Chapter 13 Trustee, the Debtor has not provided further information regarding a police report

for the Vehicle.

         19.   Moreover, the Debtor stated that at the time that the Vehicle was “stolen” he did not

have insurance on the Vehicle, even though it was required under the Contract.

         20.   On May 13, 2024, FFS timely filed a secured claim in the amount of $175,018.04,

representing the amount due and owing by the Debtor to FFS [Claim #17-1].



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       21.     The hearing on confirmation of the Plan was scheduled for June 11, 2024. The

confirmation hearing was later continued to July 16, 2024 due to the Plaintiff not providing the

Trustee with documents and information requested in the Chapter 13 Trustee’s Notice of Deficiency

for Confirmation [DE # 29] and the fact that four creditors, including FFS, objected to confirmation

of the Debtor’s Plan.

                                             COUNT I
                                    Discharge Should be Denied
                                   Pursuant to 11 U.S.C. 727(a)(3)

       22.     Plaintiff restates and realleges paragraphs 1 through 20 as if fully set forth here.

       23.     Section 727(a)(3) of the Bankruptcy Code provides the following exception to the

general discharge provisions:

               (a)       The court shall grant the debtor a discharge, unless—

                         (3)    the debtor has concealed, destroyed, mutilated, falsified,
                                or failed to keep or preserve any recorded information,
                                including books, documents, records, and papers, from
                                which the debtor’s financial condition or business transactions
                                might be ascertained, unless such act or failure to act was
                                justified under all of the circumstances of the case
11 U.S.C. § 727(a)(3).

       24.     The principal concern of section 727(a)(3) is to provide creditors and the bankruptcy

court complete and accurate information concerning the status of the debtor's affairs and to test the

completeness of the disclosure requisite to a discharge. In re Buda, 373 B.R. 189, 192 (Bankr. S.D.

Fla. 2007) (citations omitted). The statute further ensures that the trustee and creditors are supplied

with dependable information on which they can rely in tracing a debtor's financial history for a

reasonable time period. Id.

       25.     Here, the Debtor stated that the Vehicle was “stolen” but he did not report it to the

police and never received a police report. When the Trustee requested that a police report be

obtained by the Defendant, based on information and belief, he has not obtained it.



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       26.     Debtor’s failure to obtain a police report and/or provide further information

regarding the whereabouts of the Vehicle demonstrates a failure to act that is not justified under all

of the circumstances of the case.

       WHEREFORE, for the reasons set forth herein, Ferrari Financial Services, Inc. respectfully

requests the Court deny the Debtor’s discharge pursuant to 11 U.S.C. § 727(a)(3), and for such other

relief as is just and proper under the circumstances.

                                           COUNT II
                                  Discharge Should be Denied
                                Pursuant to 11 U.S.C. 727(a)(4)(A)

       27.     Plaintiff restates and realleges paragraphs 1 through 20 as if fully set forth here.

       28.     Section 727(a)(4)(A) of the Bankruptcy Code provides the following exception to

the general discharge provisions:

               (a)The court shall grant the debtor a discharge, unless—

                       (4) the debtor knowingly and fraudulently, in or in
                       connection with the case—

                               (A) made a false oath or account

11 U.S.C. § 727(a)(4)(A).

       29.     “Section 727(a)(4) was established to ensure that the trustee and the creditors would

receive reliable information in order to assist the trustee in the administration of the estate.” In re

Cutaia, 410 B.R. 733, 741 (Bankr. S.D. Fla. 2008). In order to meet the initial burden under

§ 727(a)(4)(A), the plaintiff must establish that: 1) the debtor made a material false oath, and 2) the

false oath was made knowingly and fraudulently. Id.

       30.     Here, the Defendant, based on information and belief, made false statements at the

341 creditors meeting regarding the circumstances involving the “stolen” Vehicle. The Defendant




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has yet to provide any evidence, or a police report, that indicates the Vehicle was “stolen” despite

that request being made by both Plaintiff and the Trustee.

       31.      Based on information and belief, the Vehicle was not “stolen” as the Defendant

alleges. The Debtor has made a material false oath and the false oath was made knowingly and

fraudulently.

       WHEREFORE, for the reasons set forth herein, Ferrari Financial Services, Inc. respectfully

requests the Court deny the Debtor’s discharge pursuant to 11 U.S.C. § 727(a)(4)(a), and for such

other relief as is just and proper under the circumstances.

Dated: June 24, 2024

                                      SAUL EWING LLP
                                      Attorneys for Ferrari Financial Services, Inc.

                                      By:     /s/ Jorge Garcia
                                              Carmen Contreras-Martinez
                                              Florida Bar No. 93475
                                              Jorge Garcia
                                              Florida Bar No. 1045721
                                              701 Brickell Avenue
                                              Suite 1700
                                              Miami, Florida 33131
                                              Telephone: 305-428-4500
                                              carmen.contreras-martinez@saul.com
                                              jorge.garcia@saul.com




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          EXHIBIT A
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           EXHIBIT B
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                    Payment History Statement of Account



Name: DANYERIK RODRIGUEZ DIAZ                                                Account: 0270033586

Effective Date    Transaction Date       Posting Code         Total Amount      Payment Type

  10/02/2023         10/02/2023       LATE CHARGE                $116.42           Invoiced
  09/20/2023         09/20/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  08/30/2023         08/30/2023       LATE CHARGE                $116.42           Invoiced
  08/20/2023         08/21/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  07/31/2023         07/31/2023       LATE CHARGE                $116.42           Invoiced
  07/20/2023         07/20/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  06/30/2023         06/30/2023       LATE CHARGE                $116.42           Invoiced
  06/20/2023         06/20/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  05/30/2023         05/30/2023       LATE CHARGE                $116.42           Invoiced
  05/20/2023         05/22/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  05/01/2023         05/01/2023       LATE CHARGE                $116.42           Invoiced
  04/20/2023         04/20/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  03/30/2023         03/30/2023       LATE CHARGE                $116.42           Invoiced
  03/20/2023         03/20/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  03/13/2023         03/13/2023       RETURN ITEM FEE             $25.00           Invoiced
  03/10/2023         03/13/2023      PAYMENT AMOUNT             $2,328.48          Reversed
  03/10/2023         03/13/2023      PAYMENT AMOUNT              $232.84           Reversed
  03/10/2023         03/10/2023      PAYMENT AMOUNT            ($2,328.48)         Payment
  03/10/2023         03/10/2023      PAYMENT AMOUNT             ($232.84)          Payment
  03/02/2023         03/02/2023       LATE CHARGE                $116.42           Invoiced
  02/20/2023         02/21/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  01/30/2023         01/30/2023       LATE CHARGE                $116.42           Invoiced
  01/20/2023         01/20/2023      PAYMENT AMOUNT             $2,328.48          Invoiced
  12/29/2022         12/29/2022      PAYMENT AMOUNT            ($2,328.48)         Payment
  12/29/2022         12/29/2022       RETURN ITEM FEE            ($25.00)          Payment
  12/29/2022         12/29/2022       RETURN ITEM FEE            ($25.00)          Payment
  12/22/2022         12/22/2022       RETURN ITEM FEE             $25.00           Invoiced
  12/20/2022         12/22/2022      PAYMENT AMOUNT             $2,328.48          Reversed
  12/20/2022         12/20/2022      PAYMENT AMOUNT            ($2,328.48)         Payment
  12/20/2022         12/20/2022      PAYMENT AMOUNT             $2,328.48          Invoiced
  11/23/2022         11/23/2022      PAYMENT AMOUNT            ($2,328.48)         Payment
  11/23/2022         11/23/2022       RETURN ITEM FEE             $25.00           Invoiced
  11/21/2022         11/23/2022      PAYMENT AMOUNT             $2,328.48          Reversed
  11/21/2022         11/21/2022      PAYMENT AMOUNT            ($2,328.48)         Payment
  11/20/2022         11/21/2022      PAYMENT AMOUNT             $2,328.48          Invoiced
  10/06/2022         10/07/2022           PRINCIPAL            $150,017.17




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